              Case: 4:19-cr-00301-JAR Doc. #: 1 Filed: 04/10/19 Page: 1 of 1 PageID #: 1

AO 91(Rev.11/11) Criminal Complaint


                                      UNITED STATES DISTRICT COURT                                                          FILED
                                                               forthe
                                            EASTERN DISTRICT OF MISSOURI
                                                                                                                         APR 1 0 2019
                                                                                                                        U.S. DISTRICT COURT
                   United States of America                       )                                                   EASTERN DISTRICT OF MO
                                                                                                                              ST. LOUIS
                              v.                                  )
                                                                  )      Case No. 4:19 MJ 6125 PLC
                  GARNELLAUGUSTCARTER
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   April 10, 2019             in the county of              St. Louis City             in the
        Eastern       . District of         Missouri          , the defendant(s) violated:

              Code Section                                                 Offense Description


18:922(0)                                                        Felon in possession of a machine gun




           This criminal complaint is based on these facts:

                                                   SEE ATTACHED AFFIDAVIT




          0    Continued on the attached sheet.



                                                                                 "           Complainant's signature
                                                                                             SA Brock Gale, ATF
                                                                                             Printed name and title

Sworn to before me and signed in my presence.


Date:
                   04/10/2019
                                                                                                Judge's signature

City and state:                       St. Louis.Missouri                 Honorable Patricia L. Cohen , U.S. Magistrate Judge
                                                                                             Printed name and title
